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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                                                     §             Chapter 11
                                                           §
MONTCO OFFSHORE INC., et al.1                              §             Case No. 17-31646 (MI)
                                                           §
           Debtors.                                        §             (Jointly Administered)


      LIQUIDATING TRUSTEE’S MOTION FOR ENTRY OF AN ORDER FURTHER
        EXTENDING THE TERMINATION DATE OF THE LIQUIDATING TRUST

          If you object to the relief requested, you must respond in writing. Unless
          otherwise directed by the court, you must file your response electronically at
          https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
          was filed. If you do not have electronic filing privileges, you must file a written
          objection that is actually received by the clerk within twenty-one days from the
          date this motion was filed. Otherwise, the court may treat the pleading as
          unopposed and grant the relief requested.

          Drew McManigle, Liquidating Trustee (the “Liquidating Trustee”) on behalf of the

Liquidating Trust for Montco Oilfield Contractors, LLC (the “Liquidating Trust”) files this Motion

for Entry of an Order Further Extending the Termination Date of the Liquidating Trust (the

“Motion”) and in support thereof, respectfully states as follows:

                                               I.       Jurisdiction

          1.       The United States Bankruptcy Court for the Southern District of Texas Houston

Division (the “Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this Court pursuant 28

U.S.C. § 1408.




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
    number, are Montco Offshore, Inc. (1448) and Montco Oilfield Contractors, LLC (9886).

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                                           II.      Background

          2.       On March 17, 2017 (the “Petition Date”), Montco Offshore, Inc. and Montco

Oilfield Contractors, LLC (“MOC,” and collectively, the “Debtors”) filed voluntary petitions for

relief (the “Chapter 11 Cases”) under chapter 11 of the Bankruptcy Code in the Court.

          3.       On January 18, 2018, the Court entered its Findings of Fact, Conclusions of Law,

and Order Approving the Disclosure Statement and Confirming the Amended Plan of

Reorganization of Debtor Montco Offshore, Inc. and the Amended Plan of Liquidation of Debtor

Montco Oilfield Contractors, LLC under Chapter 11 of the Bankruptcy Code [Case No. 17-31646,

Docket No. 784] (the “Confirmation Order”), which confirmed the Amended Plan of

Reorganization of Debtor Montco Offshore, Inc. and Amended Plan of Liquidation of Debtor

Montco Oilfield Contractors, LLC under Chapter 11 of the Bankruptcy Code [Case No. 17-31646,

Docket No. 740] (the “Plan”). 2

          4.       On February 8, 2018, the effective date of the Plan occurred [See Docket No. 811]

(the “Effective Date”).

          5.       The Plan and Confirmation Order established the Liquidating Trust for MOC and

approved the Liquidating Trust Agreement [Docket No. 776-1] (the “Trust Agreement”), which

among other things, appointed Drew McManigle as the Liquidating Trustee. See Trust Agreement,

§ 2.1.

          6.       The Liquidating Trust was established for the primary purpose of liquidating the

Liquidating Trust Assets and distributing the proceeds to holders of Allowed Claims in accordance

with the specific terms of the Plan. See Trust Agreement, § 7.1; see also Plan, Art. IV.I. The Plan

provides that the Liquidating Trust shall terminate upon the earlier of (a) the date on which all of



2
    Capitalized terms not specifically defined herein are given the meaning ascribed to such terms in the Plan.

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the Liquidating Trust Assets are liquidated in accordance with the Plan, the funds in the

Liquidating Trust have been completely distributed in accordance with the Plan, all tax returns and

any other filings or reports have been filed with the appropriate state or federal regulatory

authorities and the Order closing the Chapter 11 Cases is a Final Order or (b) five (5) years from

the date of creation of the Liquidating Trust, unless extended by the Court. See Plan, Art. IV.V.

       7.      On November 8, 2022, the Liquidating Trustee filed the Motion for Entry of an

Order Extending the Termination Date of the Liquidating Trust [Docket No. 1128] requesting that

the extension of the original date to terminate the Liquidating Trust from February 8, 2023 to

February 8, 2024.

       8.      On January 4, 2023, the Court entered the Order Extending the Termination Date

of the Liquidating Trust [Docket No. 1132], extending the termination date to February 8, 2024

(the “Termination Date”).

       9.      Pursuant to the Plan, the Liquidating Trustee may seek approval from the Court to

extend the Termination Date for a reasonable period in order to fulfill the purpose of the

Liquidating Trust. See Plan, Art. IV.V. As set forth herein, the administration of the Liquidation

Trust remains ongoing and cause exists to extend the Termination Date.

                                    III.    Requested Relief

       10.     By this Motion, the Liquidating Trustee seeks entry of an order, substantially in the

form attached hereto, pursuant to section 105(a) of title 11 of the United States Code (the

“Bankruptcy Code”), the Confirmation Order, Article IV.V of the Plan, and section 9.1 of the Trust

Agreement to extend the Termination Date for a period of one (1) year, through and including

February 8, 2025, subject to further extension as necessary in order to complete its designated

purpose of distributing assets.



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       11.     The Liquidating Trustee requests the extension of the Termination Date because

additional time is necessary to (i) recover and liquidate all Liquidating Trust Assets, (ii) make

appropriate distributions to the Beneficiaries in accordance with the Plan, and (iii) enable the

Liquidating Trust to fulfill various tax, accounting, and administrative functions relating to the

termination of the Liquidating Trust (the “Winding Up Activities”).

       12.     Moreover, the Liquidating Trustee submits that an extension of the Termination

Date for one (1) year does not unreasonably prolong the length of the Liquidating Trust, does not

cause the declared purpose of the Liquidating Trust to be lost or abandoned, and is critical for the

Liquidating Trustee to maximize recovery of the Liquidating Trust Assets for the benefit of the

Beneficiaries and complete the Winding Up Activities in an efficient and orderly manner.

                                IV.     Basis for Relief Requested

       13.     Section 105(a) of the Bankruptcy Code provides, in pertinent part, that “[t]he court

may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a).

       14.     The purpose of section 105(a) of the Bankruptcy Code is “to assure the bankruptcy

court’s power to take whatever action is appropriate or necessary in aid of the exercise of [its]

jurisdiction.” COLLIER ON BANKRUPTCY, ¶ 105.01 (Richard Levin & Henry J. Sommer eds., 16th

ed.) (citing Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 759–60 (5th Cir. 1995)). In addition,

the Plan and Confirmation Order provide that the Court retains exclusive jurisdiction over the

matters and has authority to enforce and issue orders in aid of execution and consummation of the

Plan as may be necessary and appropriate. See Confirmation Order, ¶ 103; see also Plan, Art. X.6.

Moreover, the Plan and the Trust Agreement provide that the Termination Date may be extended.

See Plan, Art. IV.V; see also Trust Agreement, § 9.1.



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       15.     In this case, an order extending the Termination Date is appropriate because the

Liquidating Trustee requires additional time to fully administer the assets and perform his duties

as Liquidating Trustee of the Liquidating Trust. Most of the Liquidating Trustee’s activities to date

have been dedicated to filing claim objections and pursuing claims and other sources of recovery,

which are substantially complete. In particular, the Liquidating Trustee has pursued (i) various

Causes of Action, and (ii) the recovery of non-insider preference claims.

       16.     More than 270 proofs of claim (the “Claims”) were filed in the Chapter 11 Cases.

Since the Effective Date, the Liquidating Trustee has been reviewing the Claims to identify those

that should be disallowed, reduced and allowed, or reclassified, and to resolve or file objections to

certain of the Claims. The Liquidating Trustee and his professionals thoroughly reviewed the

Debtors’ books and records, and the claims register to determine the Claims entitled to priority

status as well as those that were duplicative of the same claimants, those that were filed late, those

that were amended, and those that should be reduced or disallowed. The Liquidating Trustee has

resolved almost all of the Claims.

       17.     Additionally, the Liquidating Trustee sent 21 demand letters to avoid and recover

numerous preferential transfers made by the Debtors to or for the benefit of certain creditors. Since

sending these letters, the Liquidating Trustee filed 21 avoidance actions on March 12 and 14, 2019

and May 31, 2019 and has spent considerable time gathering relevant information such as invoices

and bank statements, corresponding with creditors, evaluating the creditors’ potential defenses,

and negotiating settlements. The Liquidating Trustee and his professionals entered into stipulations

and/or settlement agreements with all defendants to resolve these avoidance actions. In connection

with these preferential and fraudulent transfers, on February 27, 2023, the Liquidating Trustee

entered into the Seventh Amended Tolling Agreement with Aqueos Corporation (“Aqueos”) in



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order to toll the statute of limitations for the Liquidating Trustee to investigate and bring a Cause

of Action against Aqueos (the “Tolling Agreement”). The Tolling Agreement expired on August

28, 2023.

          18.     The primary driver of the request to extend the Termination Date of the Liquidating

Trust is the lack of resolution of the Black Elk Litigation (as defined below). On May 18, 2017,

the Debtors’ filed their Original Complaint [Adv. No. 17-03249, Docket No. 1] against multiple

defendants including Black Elk Energy Offshore Operations, LLC seeking damages of no less than

$27,000,000 based on claims for breach of contract, quantum meruit, misrepresentation, and

declaratory judgment (the “Black Elk Litigation”).3 Pursuant to the Plan, all MOC Causes of

Action, including, without limitation, the Black Elk Litigation, were transferred to the Liquidating

Trust on the Effective Date. See Plan, Art. I.A(84), Art IV.M. Accordingly, the Liquidating Trustee

has the authority and sole responsibility to prosecute and settle the Black Elk Litigation, which

represents a major potential source of recovery for the Beneficiaries of the Liquidating Trust. See

Plan, Art IV.S; see also Confirmation Order, ¶ 62; see also Trust Agreement, § 3.1(e), (f).

          19.     On December 5, 2018, the Liquidating Trustee filed the Renewed and Supplemental

Motion for Leave to Amend Complaint, Motion for Reconsideration, and Motion to Lift Discovery

Stay in the Black Elk Litigation [Adv. No. 17-03249, Docket No. 179] (the “Motion for

Reconsideration”). To date, there have been two responses filed in opposition to the Motion for

Reconsideration [See Adv. No. 17-03249, Docket Nos. 180 and 186] and the Liquidating Trustee

filed a reply in support of the Motion for Reconsideration [See Adv. No. 17-03249, Docket No.




3
    The Debtors filed an Amended Complaint on June 21, 2017 [See Adv. No. 17-03249, Docket No. 33] (the “Amended
    Complaint”). On October 3, 2017, the Court entered an order dismissing portions of the Amended Complaint [See
    Adv. No. 17-03249, Docket No. 147]. Thereafter, on April 2, 2018, the Liquidating Trustee filed the Second
    Amended Complaint [See Adv. No. 17-03249, Docket No. 158]. On October 31, 2018, the Court entered an order
    dismissing certain of the Debtors’ claims [See Adv. No. 17-03249, Docket No. 170].

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187]. The briefing on the Motion for Reconsideration was completed over four and a half years

ago.

        20.     Over the last year, the Liquidating Trustee and Richard Schmidt, in his capacity as

the liquidating trustee of the Black Elk Litigation Trust and the Black Elk Liquidating Trust, have

been in continued negotiations to settle and dispose of, fully and completely, any and all claims,

demands, and causes of actions arising out of the claims set forth in the Black Elk Litigation.

        21.     The outcome of the ongoing Black Elk Litigation will determine the amount of

funds that will be available to the Liquidating Trustee for distribution to the Debtors’ creditors.

Under the circumstances, the Liquidating Trustee believes that an extension of the Termination

Date will afford him additional time to fully administer the assets of the Liquidating Trust, and is

therefore in the best interests of the estate, creditors, and all parties in interest.

        22.     The Liquidating Trustee makes the request in the instant Motion without prejudice

to his rights to seek further extensions as may be necessary to the resolve the outstanding issues in

this bankruptcy case.

        23.     For all of the foregoing reasons, the Liquidating Trustee submits that the

Termination Date of the Liquidating Trust should be extended for one (1) year.

                                             V.       Notice

        24.     Notice of this Motion will be given to all parties that have requested or that are

required to receive notice pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure

and any party required to be served under Rule 9013-1(d) of the Bankruptcy Local Rules for the

Southern District of Texas. The Liquidating Trustee respectfully submits that no further notice of

this Motion is required.




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         25.    No prior request for the relief sought herein has been made to this or to any other

court.

                                          VI.     Prayer

         WHEREFORE, the Liquidating Trustee respectfully requests that the Court enter an order

(i) extending the Termination Date of the Liquidating Trust to February 8, 2025, and (ii) granting

such other and further relief as this Court may deem just and proper.



Dated: December 15, 2023

                                                     PORTER HEDGES LLP

                                                By   /s/ Joshua W. Wolfshohl
                                                     Joshua W. Wolfshohl
                                                     State Bar No. 24038592
                                                     M. Shane Johnson
                                                     State Bar No. 24083263
                                                     Heather K. Hatfield
                                                     State Bar No. 24050730
                                                     Porter Hedges LLP
                                                     1000 Main Street, 36th Floor
                                                     Houston, Texas 77002-2764
                                                     Telephone: (713) 226-6000
                                                     Facsimile: (713) 226-6295

                                                     COUNSEL FOR DREW MCMANIGLE,
                                                     LIQUIDATING TRUSTEE FOR THE
                                                     MONTCO OILFIELD CONTRACTORS,
                                                     LLC LIQUIDATING TRUST




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                                 CERTIFICATE OF SERVICE

       I certify that on December 15, 2023, I caused a copy of the foregoing document to be served

by (i) electronic transmission to all registered ECF users appearing in this case on December 15,

2023; (ii) U.S. First-Class Mail to the interested parties as indicated on the attached Service List

on December 15, 2023; and (iii) email to the interested parties as indicated on the attached Service

List on December 15, 2023

                                                     /s/ M. Shane Johnson
                                                     M. Shane Johnson




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                                                                    SERVICE LIST
                                                                    DIANE B PLAISANCE                       GALLIANO        LA   70354        First-Class Mail
MACK STEEL & SUPPLY
                                                                    PO BOX 820
                                                                    MWX22807057989                          LAKE FOREST     IL   60045-5202   First-Class Mail
WW GRAINGER INC
                                                                    100 GRAINGER PKWY
                                                                    C/O TIMOTHY THRIFFILEY ESQ              BELLE CHASSE    LA   70037        First-Class Mail
RETIF OIL & FUEL LLC
                                                                    PO BOX 7125
                                                                    3421 N CAUSEWAY BLVD                    METAIRIE        LA   70002        First-Class Mail
TRITON DIVING SERVICES, LLC
                                                                    SUITE 601
MAGNUM MUD EQUIPMENT CO., INC.                                      PO BOX 4258                             HOUMA           LA   70361        First-Class Mail
NEWLIN RENTALS-REPAIRS & SUPPLIES INC                               727 SUGARHOUSE ROAD                     PATTERSON       LA   70392        First-Class Mail
                                                                    19219 KATY FREEWAY                      HOUSTON         TX   77094        First-Class Mail
J CONNOR CONSULTING, INC.
                                                                    SUITE 200
                                                                    CHERYL E DUET                           CUT OFF         LA   70345        First-Class Mail
TRIPLE SON WHOLESALE TIMBERS INC
                                                                    14502 WEST MAIN ST
GREENWING PETROLEUM, LLC                                            5851 SAN FELIPE ST 230B                 HOUSTON         TX   77057        First-Class Mail
Dexcomm                                                             518 Patin Road                          Carencrow       LA   70520        First-Class Mail
                                                                    RANDY ADAMS                             CUT OFF         LA   70345        First-Class Mail
SEA SUPPORT VENTURES LLC
                                                                    104 ABC LANE
                                                                    WILLIAM S. SHOFFIELD, JR, MANAGER       COVINGTON       LA   70433        First-Class Mail
OFFSHORE TECHNICAL COMPLIANCE LLC                                   1598 OCHSNER BLVD
                                                                    SUITE 100
                                                                    DANA L ROY                              NEW IBERIA      LA   70560        First-Class Mail
AMERICAN POLLUTION CONTROL CORPORATION
                                                                    401 W ADMIRAL DOYLE DR
                                                                    DAVID M PATTERSON, SEC./TREAS.          AMELIA          LA   70380        First-Class Mail
BAYOU INSPECTION SERVICES INC
                                                                    PO BOX 1065
HUGG & HALL EQUIPMENT COMPANY                                       PO BOX 194110                           LITTLE ROCK     AR   72219-4110   First-Class Mail
                                                                    MR SHANE THIBODEAUX                     HOUMA           LA   70360        First-Class Mail
BOW 2 STERN SERVICES INC
                                                                    119 CAPITAL BLVD
                                                                    PO BOX 81008                            LAFAYETTE       LA   70598        First-Class Mail
UV LOGISTICS LLC
                                                                    UNITED VISION LOGISTICS
ALLENDORPH SPECIALTIES, INC.                                        201 STANTON ST                          BROUSSARD       LA   70518        First-Class Mail
                                                                    JOE NOWICZEWSKI                         HOUSTON         TX   77060        First-Class Mail
NOVA TECHNICAL SERVICES LTD
                                                                    623 BUFFINGTON ST
                                                                    KAYLA FULLILOVE                         LAROSE          LA   70373        First-Class Mail
COMPLETE OCCUPATIONAL HEALTH SERV , LLC
                                                                    13554 HIGHWAY 3235
EXPRESS OIL #0001                                                   17632 WEST MAIN ST                      GALLIANO        LA   70354        First-Class Mail
                                                                    D. ETHAN JEFFERY, ATTORNEY FOR HOLDER   BRAINTREE       MA   02184        First-Class Mail
CASHMAN EQUIPMENT CORP                                              41 BROOKS DRIVE
                                                                    SUITE 1005
                                                                    LYNN P. PIERCE, PRESIDENT               Golden Meadow   LA   70357        First-Class Mail
Theriot, Duet & Theriot, Inc.
                                                                    144 North 1st Street
                                                                    BEAU MARTIN                             GALLIANO        LA   70354        First-Class Mail
B & J Martin Inc
                                                                    18104 W MAIN
                                                                    DAVID SCHREIBER, VP                     RED WING        MN   55066        First-Class Mail
MACTECH, INC.
                                                                    4079 PEPIN AVE., UNIT 4
EXPRESS SUPPLY & STEEL LLC                                          PO BOX 189                              RACELAND        LA   70394        First-Class Mail
REDFISH RENTALS INC                                                 5306 HWY 311                            HOUMA           LA   70360        First-Class Mail
                                                                    DARRYL CHAUSIN, MEMBER                  MORGAN CITY     LA   70381        First-Class Mail
T & D TOWING LLC
                                                                    PO BOX 3249
                                                                    W.D. LESTER, MANAGER                    LAFYETTE        LA   70508        First-Class Mail
KILGORE MARINE SERVICES, LLC                                        200 BEAULLIEU DRIVE
                                                                    BUILDING 8
MARINE SYSTEMS INC                                                  116 CAPITAL BLVD                        HOUMA           LA   70360        First-Class Mail
GLOBAL DATA SYSTEMS INC                                             310 LASER LANE                          LAFAYETTE       LA   70507        First-Class Mail
                                                                    KELLY C. WURSTEISEN, TREASURER          NEW ORLEANS     LA   70125        First-Class Mail
BEERMAN PRECISION INC.
                                                                    4206 HOWARD AVENUE
                                                                    C/O DIANE B. PLAISANCE                  GALLIANO        LA   70354        First-Class Mail
GRAND ISLE SHIPYARD INC
                                                                    PO BOX 820
                                                                    JAROD RICHARD                           HOUMA           LA   70363        First-Class Mail
ALFORD SAFETY SERVICES LLC
                                                                    209 CLENDENNING RD
                                                                    PO BOX 12548                            AUSTIN          TX   78711-2548   First-Class Mail
                                                                    OFFICE OF THE ATTORNEY GENERAL
TEXAS WORKFORCE COMMISSION
                                                                    BANKRUPTCY & COLLECTIONS DIVISION
                                                                    MC-008
SAFETY & TRAINING CONSULTANTS, LLC                                  219 VENTURE BLVD                        HOUMA           LA   70360        First-Class Mail
SAFETY & TRAINING CONSULTANTS, LLC                                  219 VENTURE BLVD                        HOUMA           LA   70360        First-Class Mail
SEPARATOR SPARES AND EQUIPMENT, LLC                                 144 INTRACOASTAL DRIVE                  HOUMA           LA   70363        First-Class Mail
                                                                    JONI C GRAVOLET, PRESIDENT              HARVEY          LA   70058        First-Class Mail
CENTRAL DISPATCH INC.
                                                                    1700 4TH STREET
Data Technology Solutions                                           PO BOX 880                              Breaux Bridge   LA   70517-0880   First-Class Mail
                                                                    C/O PHILIP RUNDLE                       HOUSTON         TX   77041        First-Class Mail
VERSABAR, INC.
                                                                    11349 FM 529 ROAD
DISHMAN & BENNETT SPECIALTY CO., INC.                               PO BOX 287                              HOUMA           LA   70360        First-Class Mail
CONNECTOR SPECIALISTS INC                                           PO BOX 8988                             MANDEVILLE      LA   70470        First-Class Mail
DEEP SOUTH CHEMICAL, INC.                                           PO BOX 80657                            LAFYETTE        LA   70598-0657   First-Class Mail
TOTAL RENTALS INC                                                   2124 BAYOU BLUE RD                      HOUMA           LA   70364-3909   First-Class Mail
                                                                    RANDY J CAUSIN, CEO                     BELLE CHASSE    LA   70037        First-Class Mail
BAYOU SUPPLY & SAFETY CO.
                                                                    24 COQUILLE DRIVE
                                                                    15150 SOMMERMEYER                       HOUSTON         TX   77041        First-Class Mail
SHRED TEX
                                                                    SUITE 190
                                                                    EL ELLISH, PRESIDENT                    HOUMA           LA   70360        First-Class Mail
UNLIMITED CONTROL & SUPPLY INC.
                                                                    1043 WEST TUNNEL BLVD
                                                                    ATTN: JEFF ADAM                         HARVEY          LA   70058        First-Class Mail
CAJUN WATER WT RENTALS LLC
                                                                    2125 QUEENS BLVD
CONNECTOR SPECIALISTS INC                                           PO BOX 8988                             MANDEVILLE      LA   70470        First-Class Mail
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                                                                       DAVID LEBOEUF                      LAROSE          LA   70373        First-Class Mail
FRANKS SUPERMARKET                                                     C/O FRANKS SUPERMARKET #3
                                                                       13086 HWY 3235
                                                                       JOHN LANDRY, PRESIDENT             MORGAN CITY     LA   70380        First-Class Mail
GULFLAND OFFICE SUPPLIES INC.
                                                                       801 GRASHEAR AVE
                                                                       THOMAS J PITRE III                 GOLDEN MEADOW   LA   70357        First-Class Mail
TOM`S SERVICE STATION
                                                                       PO BOX 184
                                                                       RYAN LANDRY, DIRECTOR OF FINANCE   NEW IBERIA      LA   70560        First-Class Mail
SEATRAN MARINE LLC
                                                                       107 HWY 90 WEST
GULF SOUTH ARMATURE INC                                                8550 PARK AVE                      HOUMA           LA   70363        First-Class Mail
CALLAIS OFFICE FURNITURE & SUPPLY INC                                  14402 WEST MAIN STREET             CUT OFF         LA   70345        First-Class Mail
                                                                       ANDRE C BROUSSARD JR, ATTY         HOUMA           LA   70364        First-Class Mail
FENWARE DEVELOPMENT LLC
                                                                       742 HIGHWAY 182
WECHEM, INC.                                                           5734 SUSITNA DR                    HARAHAN         LA   70123        First-Class Mail
                                                                       PO BOX 69                          GALLIANO        LA   70554        First-Class Mail
QUALITY PRINTING & EMBROIDERY LLC
                                                                       17919 HWY 3235
                                                                       MICHAEL GRADY, SECY/TREAS          SCHRIEVER       LA   70395        First-Class Mail
MCDONALD WELL SERVICES
                                                                       PO BOX 501
COLT, INC.                                                             PO BOX 1408                        SCOTT           LA   70583        First-Class Mail
                                                                       LANCE J ARNOLD, AGENT              NEW ORLEANS     LA   70163        First-Class Mail
BALDWIN HASPEL BURKE & MAYER LLC                                       1100 POYDRAS ST
                                                                       STE 3600
                                                                       3330 CUMBERLAND BLVD               ATLANTA         GA   30339        First-Class Mail
ZEP SALES & SERVICE
                                                                       SUITE 700
QUALITY RENTAL TOOLS, INC.                                             PO BOX 2218                        HOUMA           LA   70361        First-Class Mail
                                                                       11111 WILCREST GREEN DR            HOUSTON         TX   77042        First-Class Mail
TOTAL SAFETY US INC
                                                                       # 300
                                                                       MARK R PHARR III                   LAFAYETTE       LA   70508        First-Class Mail
G&M RENTALS LLC
                                                                       328 SETTLERS TRACE BLVD
                                                                       THOMAS J VITALE                    GRAND RAPIDS    MI   49503        First-Class Mail
G-TECH SERVICES INC                                                    40 PEARL STREET NW
                                                                       SUITE 400
MCMASTER-CARR SUPPLY COMPANY                                           1901 RIVERSIDE PARKWAY             DOUGLASVILLE    GA   30135        First-Class Mail
                                                                       L-JEF-359                          NEW ORLEANS     LA   70121        First-Class Mail
ENTERGY LOUISIANA LLC                                                  4809 JEFFERSON HWY
                                                                       STE A
                                                                       EMILE JOSEPH JR ESQ                LAFAYETTE       LA   70508        First-Class Mail
BOWLS SLIPS & GRIPS LLC                                                ALLEN & GOOCH
                                                                       2000 KALISTE SALOOM RD, STE 400
                                                                       EMILE JOSEPH JR, ATTORNEY          LAFAYETTE       LA   70508        First-Class Mail
PETRO PULL LLC                                                         ALLEN & GOOCH
                                                                       2000 KALISTE SALOOM RD, STE 400
                                                                       JESS FIKE, PRESIDENT               LAFAYETTE       LA   70508-7600   First-Class Mail
H2O LLC
                                                                       841 VINCENT ROAD
                                                                       CHRIS ODINET                       MAURICE         LA   70555        First-Class Mail
FIRE & SAFETY SPECIALISTS
                                                                       7701 JOHNSTON ST
                                                                       HOOVER OFFSHORE                    NEW IBERIA      LA   70560        First-Class Mail
DOLPHIN ENERGY EQUIPMENT LLC
                                                                       4308 W ADMIRAL DOYLE DRIVE
TECH OIL PRODUCTS INC                                                  4308 W ADMIRAL DOYLE DRIVE         NEW IBERIA      LA   70560        First-Class Mail
                                                                       DIANE ST PIERRE                    CUTT OFF        LA   70345        First-Class Mail
SOUTH LAFOURCHE AIR CONDITION SERVICES INC
                                                                       16028 WEST MAIN STREET
                                                                       KRISTY WOOLSEY                     HOUSTON         TX   77041        First-Class Mail
DNOW LP
                                                                       7402 N ELDRIDGE PKWY
                                                                       JOHN S. GRAY                       HOUMA           LA   70361-4198   First-Class Mail
GRAY OFFSHORE LLC
                                                                       PO BOX 4198
                                                                       LISA GINTZ                         BATON ROUGE     LA   70809        First-Class Mail
INDUSTRIAL WELDING SUPPLY OF HOUMA LTD
                                                                       4709 BLUEBONNET BLVD
                                                                       PATRICE WILLIAMS                   FRANKLIN        LA   70538        First-Class Mail
DUGAS OIL CO INC
                                                                       PO BOX 265
GLOBAL ELECTRIC & SAFETY LLC                                           20 DAVID SWAN LANE                 PURVIS          MS   39475        First-Class Mail
                                                                       DENISE SHERRILL, TREASURER         HOUMA           LA   70363        First-Class Mail
SEA SAFETY & SURVIVAL
                                                                       128 THOMPSON ROAD
DUFRENE BUILDING MATERIALS INC                                         14502 WEST MAIN ST                 CUT OFF         LA   70345        First-Class Mail
                                                                       LISA GINTZ                         BATON ROUGE     LA   70809        First-Class Mail
IWS GAS & SUPPLY OF TEXAS LTD
                                                                       4709 BLUEBONNET BLVD
BIG BOY CO LLC DBA DAYS INN GALLIANO                                   PO BOX 967                         GALLIANO        LA   70354        First-Class Mail
                                                                       NEIL COLLINS                       BROUSSARD       LA   70518        First-Class Mail
TECHNICAL RESOURCE SERVICES
                                                                       1000 NORTH CRUSE AVENUE
LAD SERVICES OF LOUISIANA LLC                                          1043 E STEPHENSVILLE RD            MORGAN CITY     LA   70380        First-Class Mail
NAUTISK FORLAG USA INC                                                 3321 DIVISION STREET               METAIRIE        LA   70002        First-Class Mail
                                                                       RICKY COMARDELLE                   RACELAND        LA   70394        First-Class Mail
OILFIELD LOGISTICS SERVICES, L L C
                                                                       PO BOX 430
SOUTHERN HOME FURNISHING                                               14814 WEST MAIN ST                 CUT OFF         LA   70345        First-Class Mail
                                                                       401 WHITNEY AVE.                   GRETNA          LA   70056        First-Class Mail
TECHNICAL ENGINEERING CONSULTANTS, LLC                                 SUITE 600
                                                                       ATTN JAMES MYKRIS
GALLIANO SAFETY SERVICE, LLC                                           161 W 56TH STREET                  CUT OFF         LA   70345        First-Class Mail
                                                                       JANET BRITTON, GENERAL COUNSEL     GONZALES        LA   70737        First-Class Mail
VENYU SOLUTIONS LLC
                                                                       913 S BURNSIDE AVE
                                                                       ELLEN CAVALIER                     HOUMA           LA   70363        First-Class Mail
E & E MACHINE SHOP & SERVICES, LLC
                                                                       107 PICOU INUSTRIAL COURT
                                                                       C/O LACEY ROCHESTER                NEW ORLEANS     LA   70130        First-Class Mail
                                                                       BAKER DONELSON BEARMAN
STANSBURY & ASSOCIATES LLC
                                                                       CALDWELL & BERKOWITZ
                                                                       701 SAINT CHARLES AVE
                                                                       JOHN CANIK                         CAMERON         LA   70631        First-Class Mail
CANIK TRAILER RENTALS, LLC
                                                                       4459 WEST CREOLE HIGHWAY
                                                   Case 17-31646 Document 1143 Filed in TXSB on 12/15/23 Page 12 of 14


                                                                             PO BOX 81008                                      LAFAYETTE      LA   70598        First-Class Mail
UV LOGISTICS LLC
                                                                             UNITED VISION LOGISTICS
                                                                             GILBERT GAUTREAUX, OWNER                          LAROSE         LA   70373        First-Class Mail
BAYOU OFFICE MACHINES
                                                                             13066 WEST MAIN ST
                                                                             ATTN: HEATHER BILLIOT                             HOUMA          LA   70363        First-Class Mail
SCURLOCK ELECTRIC LLC
                                                                             1903 GRAND CAILLOU RD
B & B HARDWARE & RENTAL INC                                                  13222 WEST MAIN ST                                LAROSE         LA   70373        First-Class Mail
                                                                             MARK BELANGER                                     BROUSSARD      LA   70518        First-Class Mail
PRIME TANK, LLC
                                                                             1253 PETROLEUM PKWY
BONVILLIAN SERVICE CENTER                                                    901 24TH ST                                       KENNER         LA   70062        First-Class Mail
A-1 SERVICES, INC.                                                           555 COOLIDGE ST                                   JEFFERSON      LA   70121        First-Class Mail
                                                                             110 WEST 7TH ST                                   TULSA          OK   74119        First-Class Mail
AIRGAS USA LLC
                                                                             SUITE 1400
                                                                             DAVID LEBOEUF                                     LAROSE         LA   70373        First-Class Mail
FRANKS SUPERMARKET                                                           C/O FRANKS SUPERMARKET #3
                                                                             13086 HWY 3235
                                                                             c/o CURTIS J CALLAIS JR                           HOUMA          LA   70360        First-Class Mail
C & G WELDING INC
                                                                             5551 HWY 311
STARGEL OFFICE SOLUTIONS                                                     4700 BLALOCK                                      HOUSTON        TX   77041        First-Class Mail
                                                                             6740 HORIZON ROAD                                 HEATH          TX   75032        First-Class Mail
IMPACT SELECTOR INTERNATIONAL
                                                                             ATTN GREG LENZEN
                                                                             SCOTT MCPHERSON                                   HOUSTON        TX   77056        First-Class Mail
MARTIN MEGA LUBRICANTS                                                       THREE RIVERWAY
                                                                             SUITE 400
                                                                             SCOTT MCPHERSON                                   HOUSTON        TX   77056        First-Class Mail
MARTIN ENERGY SERVICES LLC                                                   THREE RIVERWAY
                                                                             SUITE 400
                                                                             KILMER CROSBY & WALKER PLLC                       HOUSTON        TX   77002        First-Class Mail
AQUEOS CORPORATION
                                                                             712 MAIN, SUITE 1100
                                                                             CADE EVANS                                        LAFAYETTE      LA   70508        First-Class Mail
DALE MARTIN OFFSHORE LLC
                                                                             2000 KALISTE SALOOM ROAD, SUITE 400
                                                                             OFFICE OF THE ATTORNEY GENERAL                    AUSTIN         TX   78711        First-Class Mail
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                                         PO BOX 12548, MC-008
                                                                             BANKRUPTCY & COLLECTIONS DIVISION
GEOMARK RESEARCH, LTD.                                                       9748 WHITHORN DRIVE                               HOUSTON        TX   77095        First-Class Mail
FASTENAL COMPANY                                                             2001 THEURER BLVD                                 WINONA         MN   55987        First-Class Mail
FMC TECHNOLOGIES SURFACE INTEGRATED SERVICES INC                             ONE SUBSEA LANE BLDG S01                          HOUSTON        TX   77044        First-Class Mail
                                                                             ERIC TROSCLAIR, MANAGER                           LAROSE         LA   70373        First-Class Mail
ALLIANCE ENERGY SERVICES LLC
                                                                             PO BOX 999
                                                                             AGENT FOR BLANCHARD CONTRACTORS                   OWINGS MILLS   MD   21117        First-Class Mail
                                                                             TAMEKA L. CONNEY, INSOLVENCY SPECIALIST
EULER HERMES NA
                                                                             CLAIM 000409797
                                                                             800 RED BROOK BLVD, #400C
                                                                             THOMAS J WILLIS JR, CAO                           TERRYTOWN      LA   70056        First-Class Mail
JOHN W STONE OIL DISTRIBUTOR LLC                                             1601 BELLE CHASSE HWY
                                                                             SUITE 300
                                                                             10900 CORPORATE CENTRE DR                         HOUSTON        TX   77041        First-Class Mail
DISA GLOBAL SOLUTIONS INC
                                                                             STE #250
                                                                             JOHN BULLARD                                      BEAUMONT       TX   77704        First-Class Mail
TIGER RENTALS LTD DBA TIGER SAFETY                                           ORGAIN BELL & TUCKER LLP
                                                                             PO BOX 1751
                                                                             PO BOX 12548                                      AUSTIN         TX   78711-2548   First-Class Mail
                                                                             OFFICE OF THE ATTORNEY GENERAL
TEXAS WORKFORCE COMMISSION
                                                                             BANKRUPTCY & COLLECTIONS DIVISION
                                                                             MC-008
                                                                             KIM LEWINSKI                                      HOUSTON        TX   77084        First-Class Mail
STALLION OFFSHORE QUARTERS, INC.
                                                                             17171 PARK ROW, SUITE 160
                                                                             MIKE HOLLANDER                                    LOVINGTON      LA   70433        First-Class Mail
FOREFRONT EMERGENCY MANAGEMENT LP                                            HOLLANDER LAW, LLC
                                                                             70325 HIGHWAY 1077, STE 300
                                                                             JACKIE DOVE BROUSSARD, VICE PRES                  HOUMA          LA   70364        First-Class Mail
VACCO INC
                                                                             7605 PARK AVE
                                                                             BRYCE ANTIN, GENERAL COUNSEL                      CUT OFF        LA   70345        First-Class Mail
GREATER LAFOURCHE PORT COMMISSION
                                                                             16829 E. MAIN ST
GLOBAL DATA SYSTEMS INC                                                      310 LASER LANE                                    LAFAYETTE      LA   70507        First-Class Mail
                                                                             C/O JOSEPH ROVIRA, COUNSEL TO HOLDER              HOUSTON        TX   77002        First-Class Mail
PROSERV OPERATIONS INC                                                       ANDREWS KURTH KENYON LLP
                                                                             600 TRAVIS, SUITE 4200
                                                                             STEPHEN M VALDES, CHIEF FINANCIAL OFFICER         KENNER         LA   70062        First-Class Mail
KARL SENNER LLC
                                                                             25 W 3RD ST
ACME TRUCK LINE INC                                                          PO BOX 183                                        HARVEY         LA   70059        First-Class Mail
                                                                             ALAN H GOODMAN                                    NEW ORLEANS    LA   70112        First-Class Mail
ALLPORT SERVICES LLC                                                         BREAZEALE, SACHSE & WILSON LLP
                                                                             909 POYDRAS STREET, SUITE 1500
                                                                             STEPHEN L WILLIAMSON, AGENT & ATTY                NEW ORLEANS    LA   70170        First-Class Mail
FUGRO USA MARINE INC                                                         GORDON ARATA MONTGOMERY BARNETT
                                                                             201 ST CHARLES AVE, 40TH FLOOR
                                                                             CHRISTOPHER C LAPEYROUSE, SECRETARY / TREASURER   HOUMA          LA   70361        First-Class Mail
BAYOU BLACK ELECTRIC SUPPLY
                                                                             5086 HIGHWAY 311
                                                                             JENNIFER DUNCAN, VP FINANCE                       HOUSTON        TX   77019        First-Class Mail
ENCORE WELLHEAD SYSTEMS LLC
                                                                             2121 KIRBY # 137
                                                                             TERRI BURNSIDE, SEC-TRES                          PATTERSON      LA   70392        First-Class Mail
SUBMERSIBLE SYSTEMS INC.
                                                                             PO BOX 1843
                                                                             MARTIN S BOHMAN; CARLETON LORASO ET AL            BATON ROUGE    LA   70802        First-Class Mail
OFFSHORE TECHNICAL SOLUTIONS LLC
                                                                             445 N BLVD STE 625
                                           Case 17-31646 Document 1143 Filed in TXSB on 12/15/23 Page 13 of 14


                                                                     ATTN: BENJAMIN W KADDEN                     NEW ORLEANS    LA   70130        First-Class Mail
                                                                     DBA MCDONOUGH MARINE SVC
MARMAC LLC
                                                                     LUGENBUHL WHEATON PECK ET AL
                                                                     601 POYDRAS ST, STE 2775
                                                                     RONALD MONSOUR                              MADISONVILLE   LA   70447        First-Class Mail
OPES SOLUTIONS GROUP LLC
                                                                     251 HWY 21 STE 200
                                                                     FREDORIA CARTWRIGHT                         HOUSTON        TX   77041        First-Class Mail
DISA INC                                                             10900 CORPORATE CENTRE DR
                                                                     STE #250
                                                                     ROBERT P CUCCIA APLC                        HOUMA          LA   70360        First-Class Mail
ROGERS PARTS INC
                                                                     311 GOODE ST
                                                                     KAREN A CAVAGNARO LEAD PARALEGAL            BEDMINSTER     NJ   07921        First-Class Mail
                                                                     C/O AT&T SERVICES INC
AT&T CORP
                                                                     ONE AT&T WAY
                                                                     ROOM 3A104
                                                                     ROBERT P CUCCIA APLC                        HOUMA          LA   70360        First-Class Mail
PREMIER OFFSHORE CATERING INC
                                                                     311 GOODE ST
                                                                     KEVIN KEELING - KEELING LAW LLC             HOUSTON        TX   77007        First-Class Mail
CASED HOLE WELL SERVICES LLC
                                                                     3310 KATY FWY SUITE 100
                                                                     DAVID S ELDER                               HOUSTON        TX   77002        First-Class Mail
OCEANEERING INTERNATIONAL INC                                        GARDERE WYNNE SEWELL LLP
                                                                     1000 LOUISIANA, SUITE 2000
                                                                     ATTN: BENJAMIN W KADDEN                     NEW ORLEANS    LA   70130        First-Class Mail
CANAL BARGE COMPANY INC                                              601 POYDRAS ST
                                                                     SUITE 2775
                                                                     C/O ROBIN B CHEATHAM                        NEW ORLEANS    LA   70139        First-Class Mail
ODYSSEA MARINE INC                                                   ADAMS AND REESE LLP
                                                                     701 POYDRAS STREET, SUITE 4500
VISUAL AIDS                                                          245 W 57TH ST                               CUT OFF        LA   70345        First-Class Mail
                                                                     WILLIAM MAXWELL, SENIOR COUNSEL             HOUSTON        TX   77002        First-Class Mail
OIL STATES SKAGIT SMATCO LLC                                         3 ALLEN CENTER, 333 CLAY STREET
                                                                     SUITE 4620
                                                                     ATTN: DIONNE AUSTIN                         CUT OFF        LA   70345        First-Class Mail
AMERICAN RECOVERY, LLC
                                                                     16201 EAST MAIN STREET
                                                                     EMILE JOSEPH JR ESQ                         LAFAYETTE      LA   70508        First-Class Mail
BOWLS SLIPS & GRIPS LLC                                              ALLEN & GOOCH
                                                                     2000 KALISTE SALOOM RD, STE 400
                                                                     CHRISTOPHER RIVIERE, ATTORNEY               THIBODAUX      LA   70301        First-Class Mail
ENCORE FOOD SERVICES LLC                                             LAW OFFICE OF CHRISTOPHER H RIVIERE, APLC
                                                                     103 WEST 3RD ST
                                                                     STEPHEN L WILLIAMSON, AGENT & ATTY          NEW ORLEANS    LA   70170        First-Class Mail
                                                                     GORDON ARATA MONTGOMERY BARNETT
BOLLINGER SHIPYARDS LLC
                                                                     201 ST CHARLES AVE
                                                                     40TH FLOOR
                                                                     CA CROCHET JR, SECRETARY                    NEW ORLEANS    LA   70130        First-Class Mail
GULF RESOURCE MANAGEMENT INC
                                                                     601 POYDRAS ST, SUITE 2775
                                                                     ATTN: STEWART F PECK                        NEW ORLEANS    LA   70130        First-Class Mail
CROSBY TUGS LLC                                                      LUGENBUHL WHEATON PECK ET AL
                                                                     601 POYDRAS ST, SUITE 2775
                                                                     ATTN: BENJAMIN W KADDEN                     NEW ORLEANS    LA   70130        First-Class Mail
QUALITY ENERGY SERVICES INC                                          LUGENBUHL WHEATON PECK ET AL
                                                                     601 POYDRAS ST, SUITE 2775
                                                                     STEVE VIGNES, PRESIDENT                     BELLE CHASSE   LA   70037        First-Class Mail
INSULATION TECHNOLOGIES, INC.
                                                                     120 HERMAN DRIVE
                                                                     KIM LEWINSKI                                HOUSTON        TX   77084        First-Class Mail
DIVERSE SAFETY AND SCAFFOLDING LLC                                   DORE LAW GROUP PC
                                                                     17171 PARK ROW, SUITE 160
                                                                     JULIE I FAULK                               LAFAYETTE      LA   70502        First-Class Mail
DHD OFFSHORE SERVICES LLC                                            PO BOX 3089
                                                                     MAHTOOK & LAFLEUR LLC
                                                                     C/O LYNN H BUTLER                           Austin         TX   78701        First-Class Mail
ABRADO INC                                                           HUSCH BLACKWELL LLP
                                                                     111 CONGRESS AVENUE, SUITE 1400
                                                                     JOSEPH GARZONE, ASST. VICE PRESIDENT        BLUE BELL      PA   19422        First-Class Mail
MANUFACTURERS ALLIANCE INSURANCE COMPANY                             PMA COMPANIES
                                                                     380 SENTRY PARKWAY
                                                                     ANTHONY D WINTERS ESQ                       BATON ROUGE    LA   70804        First-Class Mail
DELGADO COMMUNITY COLLEGE                                            LADOJ-OAG
                                                                     1885 N 3RD ST, SUITE 5012
                                                                     AGENT FOR BLACKWATER DIVING LLC             OWINGS MILLS   MD   21117        First-Class Mail
                                                                     TAMEKA L. CONNEY, INSOLVENCY SPECIALIST
EULER HERMES NA
                                                                     CLAIM 000409353
                                                                     800 RED BROOK BLVD #400C
                                                                     KIM WKE, SECRETARY/TREASURER                NEW IBERIA     LA   70560        First-Class Mail
PALFINGER MARINE USA INC
                                                                     912 HWY 90 EAST
                                                                     JOHN M DUBREUIL                             MADISONVILLE   LA   70447        First-Class Mail
HUDSON SERVICES INC                                                  DAIGLE FISSE & KESSENICH
                                                                     227 HIGHWAY 21
SHANNON HARDWARE CO LLC                                              1210 DAVID DR                               MORGAN CITY    LA   70380        First-Class Mail
                                                                     SCOTT MATNEY                                HOUSTON        TX   77012        First-Class Mail
FIRE PROTECTION SERVICE INC                                          FPS-NEW ORLEANS
                                                                     8050 HARRISBURG
CONTINENTAL UNDERWRITERS LTD LLC                                     PO BOX 2070                                 COVINGTON      LA   70434-2070   First-Class Mail
LOUISIANA DEPARTMENT OF REVENUE                                      PO BOX 66658                                BATON ROUGE    LA   70896-6658   First-Class Mail
LOUISIANA DEPARTMENT OF REVENUE                                      PO BOX 66658                                BATON ROUGE    LA   70896-6658   First-Class Mail
Blackhill Partners LLC                                               2021 MCKINNEY AVE STE 200                   DALLAS         TX   75201-3369   First-Class Mail
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                                                                                                                                              TARA L GRUNDEMEIER                           HOUSTON         TX   77253-3064   First-Class Mail
HARRIS COUNTY ET AL                                                                                                                           PO BOX 3064
                                                                                                                                              LINEBARGER GOGGAN BLAIR & SAMPSON LLP
GULF SOUTH SERVICES INC.                                                                                                                      PO BOX 1229                                  AMELIA          LA   70340        First-Class Mail
                                                                                                                                              JOE SLOVACEK                                 HOUSTON         TX   77056        First-Class Mail
CITYCENTRE THREE PARTNERS LP                                                                                                                  HOOVER SLOVACEK LLP
                                                                                                                                              5051 WESTHEIMER SUITE 1200
                                                                                                                                              JEFFREY STEWART, ATTY IN FACT                HOUSTON         TX   77002        First-Class Mail
GREENE`S ENERGY GROUP LLC                                                                                                                     WELLS & CUELLAR PC
                                                                                                                                              440 LOUISIANA, SUITE 718
                                                                                                                                                                                                                             First-Class Mail
Montco Offshore, Inc.                                                                                                                         17751 Hwy 3235, Suite 500                    Galliano        LA   70354        First-Class Mail
Montco Oilfield Contractors, LLC                                                                                                              842 W Sam Houston Pkwy N. Suite 500          Houston         TX   77024        First-Class Mail
David E. Avraham (DLA Piper)                                                                                                                  444 West Lake Street, Ste. 900               Chicago         IL   60606        david.avraham@dlapiper.com
Vincent Slusher (Drinker Biddle & Reath LLP)                                                                                                  1717 Main Street, Suite 5400                 Dallas          TX   75201        vince.slusher@dbr.com
Adam Lanza (DLA Piper)                                                                                                                        1251 Avenue of the Americas                  New York        NY   10020-1104   adam.lanza@dlapiper.com
Office of the U.S. Trustee (Christine March)                                                                                                  515 Rusk, Suite 3516                         Houston         TX   77002        christine.a.march@usdoj.gov
Office of the U.S. Trustee (Stephen Statham)                                                                                                  515 Rusk, Suite 3516                         Houston         TX   77002        stephen.statham@usdoj.gov
Adams and Reese LLP Attn: John M. Duck Victoria P. White; Robin B. Cheatham (on behalf of Regions Bank)                                       701 Poydras Street, Suite 4500               New Orleans     LA   70139        john.duck@arlaw.com
Norton Rose Rulbright US LLP Attn: Ryan E. Manns (on behalf of JPMorgan Chase Bank, N.A.)                                                     2200 Ross venue, Suite 3600                  Dallas          TX   75201-7932   ryan.manns@nortonrosefulbright.com
Jackson Walker L.L.P. Attn: Bruce J. Ruzinsky (on behalf of Offshore Specialty Fabricators LLC)                                               1401 Mckinney Street, Suite 1900             Houston         TX   77010        bruzinsky@jw.com
Okin Adams LLP Attn: Matthew S. Okin (on behalf of Black Elk Liquidating Trust and Richard Schmidt, Trustee to the Black Elk Trust)           1113 Vine St., Suite 201                     Houston         TX   77002        mokin@okinadams.com
                                                                                                                                              600 Travis Street, Suite 2800                Houston         TX   77002        Eisenberg, Philip
Locke Lord Attn: Philip Eisenberg (on behalf of W&T Offshore)
                                                                                                                                                                                                                             <peisenberg@lockelord.com>
Fieldwood Energy LLC                                                                                                                          2000 W. Sam Houston Pkwy South, Suite 1200   Houston         TX   77042        First-Class Mail
H. Kent Aguillard (on behalf of Extreme Energy Services, LLC)                                                                                 141 S. 6th Street PO Box 391                 Eunice          LA   70535        kaguillard@yhalaw.com
Haynes and Boone LLP Attn: Patrick L. Hughes (on behalf of Cairn Energy USA, LLC, Alta Mesa Holdings LP)                                      1221 Mckinney Suite 2100                     Houston         TX   77010        patrick.hughes@haynesboone.com
Carver Darden Koretzky Tessier et al Attn: Brandon T. Darden (on behalf of Alliance Offshore, LLC, Alliance Energy Services, LLC)             1100 Poydras Street, Suite 3100              New Orleans     LA   70163        bdarden@carverdarden.com
Looper Goodwine, PC Attn: Paul Joseph Goodwine (on behalf of Argonaut Insurance Company)                                                      650 Poydras Street, Suite 2400               New Orleans     LA   70130        pgoodwine@loopergoodwine.com
                                                                                                                                              2929 Allen Parkway, Suite 2800               Houston         TX   77019        First-Class Mail
Thomas Energy Services LLC dba Thomas Tools LLC Attn: Holly C. Hamm, William R. Spence, Kenneth P. Green, Snow Spence Green LLP
Nathan Sommers Jacobs, PC re Furth Oil Co Attn: Jarrod B. Martin                                                                              2800 Post Oak Blvd, 61st Floor               Houston         TX   77056-5705   First-Class Mail
Superior Energy Services Inc. re Intl Snubbing Svcs & HB Rentals LC Attn: Jean Paul Overton                                                   1001 Louisiana Street, Suite 2900            Houston         TX   77001        First-Class Mail
Dore Law Group, PC Attn: Maria Mulrooney Barlett (on behalf of Tetra Applied Technologies LLC)                                                17171 Park Row, Suite 160                    Houston         TX   77084        mbartlett@dorelawgroup.net
Gieger, Laborde & Laperouse, LLC Attn: Margaret V. Glass, Jon A. Van Steenis, and Lambert M. Laperouse (on behalf of JX Nippon Oil            5151 San Felipe Suite 750                    Houston         TX   77056        laperouse@glllaw.com
Exploration USA Limited)
Gieger, Laborde & Laperouse, LLC Attn: Margaret V. Glass, Jon A. Van Steenis, and Lambert M. Laperouse (on behalf of EPL Oil & Gas, Inc.,     5151 San Felipe Suite 750                    Houston         TX   77056        laperouse@glllaw.com
M21K, LLC, Energy XXI Pipeline II, LLC, Energy XXI GOM, LLC)
Swivel Rental & Supply LLC Attn: John H. Hughes                                                                                               2000 Kaliste Saloojm Rd, Suite 400           Lafayette       LA   70508
King, Krebs & Jurgens, PLLC Attn: Henry A. King (on behalf of DeepCor Marine, Inc.)                                                           201 St. Charles Avenue, 45th Floor           New Orleans     LA   70170        hking@kingjurgens.com
Polsinelli Attn: James H. Billingsley (on behalf of DeepCor Marine, Inc.)                                                                     2950 Harwood, Suite 2100                     Dallas          TX   75201        jbillingsley@polsinelli.com
Waller Lansden Dortch & Davis, LLP Attn: Eric J. Taube, Mark Curtis Taylor (on behalf of Regions Bank)                                        100 Congress Ave., Suite 1800                Austin          TX   78701        eric.taube@wallerlaw.com
Strasburger & Price LLP Attn: Gina P. Shearer (on behalf of Westchester Fire & Casualty Insurance Company)                                    2600 Dallas Parkway, Suite 600               Frisco          TX   75034        gina.shearer@strasburger.com
Weinstein & St. Germain, LLC Attn: Tom St. GermaIn (on behalf of Hillman Maritime Services, LLC)                                              1414 NE Evangeline Thrwy.                    Lafayette       LA   70501        tstgermain@weinlaw.com
Louisiana Department of Justice-Collections Section Attn: Anthony D. Winters (on behalf of Delgado Community College)                         1885 N. 3rd Street, Suite 5012               Baton Rouge     LA   70802        First-Class Mail
Duval Funderburk Sundbery Richard et al Attn: Stanwood Duval (on behalf of Gulfstream Services, Inc.)                                         101 Wilson Avenue                            Houma           LA   70364        First-Class Mail
G. Tim Alexander (on behalf of Environmental Technology of America, Inc.)                                                                     600 Jefferson Street, Box 46                 Lafayette       LA   70501        First-Class Mail
                                                                                                                                              365 Canal Street, Suite 2000                 New Orleans     LA   70130-6534   marty.mcleod@phelps.com;
Phelps Dunbar LLP Attn: Evans Martin McLeod, David I. Clay, II (on behalf of Barry Graham Oil Service)
                                                                                                                                                                                                                             turk.clay@phelps.com
Gordon Arata Montgomery Barnett McCollam Duplantis & Eagan, LLC Attn: Armistead Long (on behalf of Piranha Rentals, LLC)                      400 E. Kaliste Saloom Road, Suite 4200       New Orleans     LA   70170        along@gamb.law
                                                                                                                                              1235 North Loop West, Suite 600              Houston         TX   77008        osonik@pbfcm.com
Perdue, Brandon, Fielder, Collins & Mott, LLP Attn: Owen M. Sonik (on behalf of City of Houston, Spring Branch Independent School District)

G&J Land and Marine Food Dist., Inc. Attn: Peggy Manuel                                                                                       PO Box 649                                   Morgan City     LA   70380        peggy@gjfood.com
Force Power Systems Attn: Shantal Roger                                                                                                       PO Box 5218                                  Houston         TX   77262        shantal.roger@forcepowersystems.com
Southern Fluid Power, LLC Attn: Justine Davis                                                                                                 1021 O'Neal Drive                            Breaux Bridge   LA   70517        admin@southernfluidpowerllc.com
Renovations, Inc. Attn: Wade Cantrelle                                                                                                        16815 E Main St.                             Cut Off         LA   70345        First-Class Mail
Bluewater Rubber & Gasket Attn: Christine Rodrigue                                                                                            PO Drawer 190                                Houma           LA   70361        c.rodrigue@bluewaterrubber.com
Ascend, LLC Attn: Jana Clemons                                                                                                                251 Hwy 21, Suite 200                        Madisonville    LA   70447        jana@opessg.com
Fugro Chance, Inc. Attn: Donna Humphreys                                                                                                      PO Box 200724                                Houston         TX   77216-0724   dhumphreys@fugro.com
Precision Crane & Hydraulics, LLC Attn: Christi Cheramei                                                                                      PO Box 1197                                  Larose          LA   70357        christic@precisioncrane.net
Blackhawk Datacom Attn: Sandra Hanks                                                                                                          100 Enterprise Blvd                          Lafayette       LA   70506        sandrah@blackhawkdc.com
Leblanc & Associates, Inc. Attn: Shawn Moore                                                                                                  132 Intracostal Drive                        Houma           LA   70363        smoore@leblancandassociates.com
C-Port / Stone, LLC Attn: Takitta Boudreaux                                                                                                   Dept. 211 PO Box 4869                        Houston         TX   77210-4869   takkita.boudreaux@chouest.com
The Hiller Companies, Inc. Attn: Gaye Arcuri                                                                                                  PO Box 935434                                Atlanta         GA   31193-5434   darcuri@hillercompanies.com
Nautical Electric, LLC Attn: Mandy Loupe                                                                                                      6896 West Park Ave                           Houma           LA   70364        nauticalelectric@yahoo.com
Supreme Integrated Technology, Inc.                                                                                                           915 Distributors Row                         Harahan         LA   70123        First-Class Mail
Vacco Marine, Inc.                                                                                                                            PO Box 8032                                  Houma           LA   70361        First-Class Mail
Ecoserv, LLC Attn: Ember Milliman                                                                                                             3561 Momentum Place                          Chicago         IL   60689-5335   emilliman@ecoserv.net
Stellar Well Control & Risk Services, LLC Attn: Diana Dannhaus                                                                                PO Box 22328                                 Houston         TX   77227        ddannhaus@stellaroilfield.com
Iss, LLC Attn: Lee Ann Breaux c/o Whitney National Bank, Dept. 2125                                                                           PO Box 122125                                Dallas          TX   75312-2125   leeann.breaux@superiorenergy.com
Seacor Liftboats LLC Attn: Jesus Llorca                                                                                                       Dept. 3288 PO Box 123288                     Dallas          TX   75312-3288   jllorca@ckor.com
Weatherford U.S., L.P. Attn: Julie Buckner                                                                                                    PO Box 301003                                Dallas          TX   75303-1003   julie.buckner@weatherford.com
C & G Boats, Inc. Attn: Jamie Adams                                                                                                           PO Box 789                                   Golden Meadow   LA   70357        jamie@cgboats.com
